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11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14

15 THE LOUIS D. BRANDEIS CENTER, INC.;                Case No. 3:23-cv-06133-JD
   JEWISH AMERICANS FOR FAIRNESS IN
16 EDUCATION (JAFE),                                  REQUEST FOR JUDICIAL NOTICE IN
                                                      SUPPORT OF DEFENDANTS’ MOTION
17                 Plaintiffs,                        TO DISMISS

18          vs.                                       Filed with Notice of Motion and Motion;
                                                      Mem. P & A; Declaration of Bryan H.
19 REGENTS OF THE UNIVERSITY OF                       Heckenlively in Support of Defendants’
   CALIFORNIA; UNIVERSITY OF                          Motion to Dismiss
20 CALIFORNIA AT BERKELEY; BERKELEY
   LAW SCHOOL; MICHAEL DRAKE, in his
21 official capacity as President of the University   Hearing Date:        August 8, 2024
   of California; CAROL T. CHRIST, in her             Time:                10:00 am
22 official capacity as Chancellor of the             Place:               Courtroom 11
   University of California, Berkeley; BEN            Judge:               Hon. James Donato
23 HERMALIN, in his official capacity as
   Provost of the University of California,
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                   Defendants.
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                                      REQUEST FOR JUDICIAL NOTICE
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                                 REQUEST FOR JUDICIAL NOTICE
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 1 I.       INTRODUCTION

 2          Pursuant to the incorporation-by-reference doctrine and Federal Rule of Evidence 201,

 3 Defendants respectfully request that this Court take judicial notice of the following document in

 4 support of Defendants’ Motion to Dismiss:

 5          •       Exhibit 1 to the accompanying Declaration of Bryan H. Heckenlively in Support of

 6 Defendants’ Motion to Dismiss, filed herewith: Upholding Our Values, Berkeley News, Feb. 27,

 7 2024, also available at: https://news.berkeley.edu/2024/02/27/upholding-our-values/.

 8 II.      ARGUMENT

 9          Defendants’ Motion to Dismiss can and should be granted regardless of whether the Court
10 takes judicial notice of the above exhibit. But in the event the Court would find consideration of

11 that exhibit useful, it may do so under well-established Ninth Circuit law.

12          Exhibit 1 is a public statement by Carol Christ, Chancellor of the University of California
13 at Berkeley; this statement is named and cited via a hyperlink at paragraph 139 of Plaintiffs’ First

14 Amended Complaint.

15          On a motion to dismiss, a court may “consider certain materials—documents attached to
16 the complaint, documents incorporated by reference in the complaint, or matters of judicial

17 notice—without converting the motion to dismiss into a motion for summary judgment.” United

18 States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). Chancellor Christ’s statement may therefore

19 be considered by this Court under the incorporation-by-reference doctrine. See Swartz v. KPMG

20 LLP, 476 F.3d 756, 763 (9th Cir. 2007) (“a court may consider a writing referenced in a complaint

21 but not explicitly incorporated therein if the complaint relies on the document and its authenticity

22 is unquestioned”).

23          Alternatively, this court may take judicial notice of Chancellor Christ’s statement, which is
24 contained on a publicly available website. Under Federal Rule of Evidence 201(b)(2), a Court

25 may take judicial notice of a fact “not subject to reasonable dispute because it . . . can be

26 accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”

27 Id. Courts in this circuit routinely take judicial notice of websites and their contents. See, e.g.,

28 Matthews v. Nat’l Football League Mgmt. Council, 688 F.3d 1107, 1113 n.5 (9th Cir. 2012) (facts

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 1 on NFL website); Wagner v. Terumo Med. Corp., No. 18CV1007-MMA (MSB), 2018 WL

 2 6075951, at *3 (S.D. Cal. Nov. 21, 2018) (list of locations on Terumo’s website); Ayala v. Cty. of

 3 Imperial, No. 15CV397-LAB (NLS), 2017 WL 469016, at *2 (S.D. Cal. Feb. 3, 2017) (facts on

 4 DEA’s website). The content of Chancellor Christ’s statement is publicly available and not

 5 subject to reasonable dispute. Accordingly, it is judicially noticeable.

 6 III.      CONCLUSION

 7           Pursuant to the doctrine of incorporation by reference and Federal Rule of Evidence 201,

 8 and for the reasons stated above, the Court should take judicial notice of Exhibit 1, as attached to

 9 the accompanying Declaration.
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11 DATED: June 10, 2024                        MUNGER, TOLLES & OLSON LLP

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13
                                               By:          /s/ Bryan H. Heckenlively
14                                                        BRYAN H. HECKENLIVELY
                                                     Attorneys for Defendants
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                                      REQUEST FOR JUDICIAL NOTICE
